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Timothy G. Martin
Plaintiff appearing Pro   se

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                                                             E.Qo,.\/ E (         t'(4ò
                           UIIITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 TIMOTHY G. MARTIN
         Plaintiff
         v.

United Bridge Capital, LP
United Bridge Capital Funding 3, LLC
CFAI Special Assets, LLC
Churchill Real Estate IToldings LLC
Justin Ehrlich
Sarper C Beyazyurek
S. Travis Masters
Sorabh Maheshwari
Todd Billings
Defendants




                                                                    Jan.16,2020




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                                                                          Verified Complaint




                                                                          Jury Trial Demanded




COMPLAII\T FOR VIOLATIOT{ OF 12 U.S* CODES 85 : USURY AND
MASSACHUSETTS GENERAL LA\ry.CHAPTER 271 SECTION 49.
MASSACHUSETTS GENERAL LA\ry.93A, USURY, UI\FAIR AND
DECEPTIVE TRADE PRACTICBS. CONSPIRACY AND FRAUDULENT
TRANSFER.




INTROÐUCTION


       Comes now the     plaintiff Timothy G. Martin of Connecticut appearing pro se and makes

the following complaint In the District of Connecticut under diversity.




JlIRISDICTION
                1)   Jurisdiction of this court arises under 28 U.S.C. secs 133I,1332,1337




PART]ES

             1) Plaintiff Timothy Martin    is a natural person and legal resident of the State of
                  Connecticut
             2)   Defendant United Bridge Capital, LP is a limited partnership, organized under
                  the laws of the State of Florida.
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          3) Defendant   United Bridge Capital Funding 3,LLC is a Limited Liability
               Corporation, organized under the laws of the State of Florida.
          4)   Defendant CFAI Special Assets, LLC is as a Limited Liability Corporation,
               believed to be organized under the laws of the state of New York
          5)   Defendant Sarper C Beyazyurek is anatural person residing in the State of
               North Carolina
          6)   Defendant S. Travis Masters is a natural person residing in the State of North
               Carolina
          7)   Defendant Sorabh Maheshwari is a natural person residing in the State of New
               York
          8)   Defendant Todd Billings is a natural person residing in the State of Florida
          9)   Defendant Justin Ehrlich is a natural person residing in the State of New York




FACTS COMMON TO ALL COLINTS


FACTS


          1)   Plaintiff is a reasonable man. He is an honorably discharged veteran of two
               services. He has been married for over 33 years and the father of 4.
          2)   On or about ll22l20I8 the Plaintiff borrowed $477,000 from the defendant
               United Bridge Capital, LP which included one year of prepaid interest at arate
               of I0.9Yo
          3)   The loan was secured by a mortgage on a residence located at 384 Glendale Rd,
               Glendale Massachusetts.
          4)   The residence is owned by College Degree Express LLC, which was formed in
               the state of Connecticut.
          5)   The residence is the sole asset of College Degree Express LLC
          6)   The Plaintiff is the sole member of College Degree Express LLC and the owner
               of any and all the equity interest in the LLC and therefore the residence.
          7)   There is a planned foreclosure auction of the Glendale residence scheduled for
               U2U20t0
          8)    Defendant United Brìdge Capital, LP transferred to ownership olthe note and
               mortgage on0210612018 to United Bridge Capital Funding 3,LLC, shortly after
               the loan closed but did not file the assignment to months later.
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  9) Approximately      two months after the loan closed the Plaintiff was contacted by
        the loan servicing company, FCI, who claimed the loan was in default for
        nonpayment.
  10) The    plaintiff contacted the United Bridge Capital, LP, who undenounced to the
        Plaintiff no longer owned the loan but was apparently in control of the loan and
        instructed the Plaintiff to ignore the loan servicing company because the loan
        was in fact prepaid for I year.
  11) On    or about Sept. 29, 2018 the Plaintiff was contacted by a person the Plaintiff
        believes to be Defendant Todd Billings for Defendant United Bridge Capital
        Funding 3,LLC who informed the Plaintiff that the loan was now in default'
        stating there was not enough money to prepay the loan for the 12 months as
        agreed originally.
  COUNT      1:    USURY
  Plaintiff repeats and re-alleges and incorporates by reference the allegations in
      paragraphs l through 11 abovewiththe same force and effect as if herein set
      forth
  12)   A person believed to be Defendant Todd Billings told the Plaintiff that the loan
        was in default and the default rate of the loan was in excess of 45Yo interest
        giving the Plaintiff an outrageous and unlawful payoff amount for the loan.
  13) The loan was clearly in  violation of the USURY laws of the Unites States of
        America and the State of Massachusetts; where the loan was made and was
        secured.
  14) The violations are both   Civil and Criminal under the federal law and
        Massachusetts usury statute.
  15) The Massachusetts statute has a maximum legal interest rate of 20Yo      for loans of
        this type but allows for exemptions to thatrate in the entity charging the interest
        is registered with the State Attorney General to do so, which Defendant United
        Bridge Capital Funding 3 LLC was not, making their actions clearly usury, any
        attempt to enforce a usurious debt is also a criminal felony.




                     COUNT 2 CONSPIRACY AND FRAUDLENT TRANSFER


  16) Plaintiff repeats and re-alleges and incorporates by reference the allegations in
     paragraphs I through 15 above with the same force and effect as if herein set
     forth.
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  17) Although the Defendant United Bridge Capital Funding 3 LLC was not
      registered as required to charge the usurious rate of interest Defendant United
        Bridge Capital LP who had previously owned the note and mortgage was ; so in
        an effort to veil and conceal their unlawful and felonious acts Defendant United
        Bridge Capital Funding 3 LLC transferred the note and mortgage back to
        Defendant United Bridge Capital LP.
  18)   Plaintiff alleges that was a fraudulent transfer in that the sole purpose of the
        transfer was to evade the usury charges.
  19)   After a long settlement discussion with the lawyers and principals of both
        Defendants United Bridge Capital Funding 3 LLC, United Bridge Capital LP
        and the Plaintiff where we had reached a settlement in the matter the Plaintiff
        was waiting on written confirmation of the settlement agreement for months but
        it never came.
  20) On 81112019 the Plaintiff was contacted by Defendant Sarper C Beyazyurek             of
        Defendant Churchill Real Estate Holdings LLC who claimed his company was
        the new owner of the note and mortgage and they were going to proceed with a
        foreclosure of the mortgage.
  21) The Plaintiff explained to the Defendant Sarper CBeyazyurek that the mortgage
      and note they bought were usurious and were not enforceable under the law to
      which he laughed.
  22) Nthough on record the note and mortgage were never transferred to Churchill
     Real Estate Holdings LLC but the current owner Defendant CFAI Special
     Assets, LLC which the Plaintiff has knowledge and belief is owned and
      controlled by Churchill Real Estate Holdings LLC        .



  23)The Plaintiff has knowledge and belief that the transfer of the note and
     mortgage to CFAI Special Assets, LLC was an "arm's length" transaction and a
     fraudulent transfer for the sole purpose of concealing the unlawful and usurious
     actions of the previous owners and Defendants.
  24)The Plaintiff has knowledge and believes all of the named defendants conspired
     to enforce the usurious note and mortgage, conceal the usurious acts and
     fraudulently transfer the note and mortgage for this purpose.


  25)   All the Defendants (a)  had an object to be accomplished; (b) had an agreement
        on the object or course of action, (c) performed one or more unlawful overt acts;
        and (d) caused Plaintiff damages that were a direct result of those acts. In
        furtherance of their object, to veil the unlawful and usurious actions of the
        previous owners of the note and mortgage.
  26) Defendants S. Travis Master, Sorabh Maheshwari, Justin Ehrlich, Todd Billings
      and Sarper C Beyazyurek are also liable under the doctrine of respondent
        superior as controlling offrcers of the Defendant corporations..


  27)Plaifüff suffered harm      and damages that are a direct result of those acts
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\ryHEREFORE, Plaintiff demands judgment against all Defendants, voiding of the note
 and mortgage both principal and interest, injunctive relief -immediately stopping any and
 all collections actions relative to the note and mortgage, particularly a pending
foreclosure auction scheduled for Jan. 27,2020, compensatory and punitive damages,
 attorney's fees, costs, expenses, and interest in an amount deemed at time of trial to be
just, fair, and appropriate.




       Because the Plaintiff Timothy Martin brings this case pro se, the Court must
         construe his filings "liberally" and interpret them "to raise the strongest
         arguments that they suggest." Triestman v. Fed. Bureau of Prisons, 470F.3d
         47 7, 47 4 (2d Cir. 2006); see also Ruotolo v.I.R. S., 28 F. 3 d 6, 8 (2d Cir. 1994)
         (explaining that pro se litigants should be afforded "special solicitude" because they
         are not represented by counsel).




                                                                Timothy Martin




                        PLAINTIFF'     S   VERIFICATION
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The undersigned, being duly sworn, deposes and says that   I   am the   Plaintiff herein, and have
read the foregoing pleading filed on my behalf, and the        stated therein are true
January 16,2020
                                              v
